Case 1:04-cv-10981-PBS Document1710-5 Filed 03/12/09 Page 1of3

Exhibit 4
Case 1:04-cv-10981-PBS Document 1710-5 Filed 03/12/09 Page 2 of 3

 

 

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE: NEURONTIN MARKETING, SALES
PRACTICES AND PRODUCTS LIABILITY
LITIGATION

 

CASE NO.
04-10981
THIS DOCUMENT RELATES TO:

RUTH SMITH, Individually and as
Widow for the use and benefit of
herself and the next of kin of
Richard Smith, deceased.

O05-CV-11515

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VIDEOTAPED DEPOSITION OF
CINDY SMITH-CHARLTON
Taken on Behalf of the Defendant

October 3, 2007

 

 
Case 1:04-cv-10981-PBS Document 1710-5 Filed 03/12/09 Page 3 of 3

 

 

 

Page 10 Page 12
1 keep any such logs or personal diaries or 1 Q. Okay. And what did she respond?
2 calendars yourself? 2 A._ She has samples in her possession.
3 A. No. 3 Q. Okay.
4 Q. And are you aware of -- of either your 4 A. She does not have prescription bottles in
5 father, mother, or any of your sisters having kept 5 her possession.
6 such a note, calendar, journal, anything like 6 Q. And do you know what she has done with
7 that? 7 those samples? Has she kept them or given them to
8 A. No. 8 her attorneys, if you know?
9 Q. Okay. The -- the second item asks for any 9 A. She has kept them.
10 prescription records or pill bottles, remaining 10 Q Okay. And do you know how many of those
11 medication, blister packs of medications, pharmacy | 11 there are?
12 records, or any other records that you might have 12 A. How many -— clarify how many --
13 that related to -- to any of the Neurontin or 13 Q Sure.
14 other medications that Mr. Smith was taking in the 14 A. — -- of what.
15 year or so prior to his death. Do you have any 15 Q._ Tell me what you understand that she has.
16 items like that? 16 A. She has some sample boxes. There are
17 A. No. 17 blister packs in the boxes. I do not know the
18 Q. Are you aware of the existence -- let me 18 quantity.
19 ask you this, are you aware whether your mother or | 19 Q. Okay. Do you know whether it's more than
20 sisters have in their possession any prescription 20 one box?
21 records or pill bottles? 21 A. _ Iknow it is more than one box.
22 A. No. 22 Q. Are they unopened boxes?
23 Q._ Are you not aware one way or the other, or 23 A. The boxes have been opened, but the
24 you know that they do not? 24 blister packs remained sealed.
25 A. I'msorry. 25 Q.__ And you don't have any estimate as to how
Page 11 Page 13
1 Q. Sure. 1 many boxes?
2 A. Please ask that again. 2 A.  Anestimate?
3. Q. Are you -- do you have any -- any 3 Q. Yes, ma'am.
4 knowledge as to whether or not your sisters or 4 A. Anestimate of approximately six.
> mother have pill bottles, for example? 5 Q. Six boxes?
6 A. No. 6 A. Yes.
7 Q. And what I'm trying to determine is, have 7 Q. And, again, I apologize if I already asked
8 you ever asked your mother or sisters if they have 8 this. But are any of those boxes unopened?
9 any -- any pill bottles or any items related to -- 9 A.  Idon't know.
10 to the medications that your father was taking in 10 Q. And there are also unopened blister packs
11 the year prior to his death? 11 as far as you know; is that correct?
12 A. And your question is, have I asked them? 12 A. Yes.
13 Q. Yes, ma'am. 13 Q. And have you physically seen these --
14 A. Yes. 14 these boxes and unopened blister packs?
15 Q. Okay. And what did they respond? 15 A. Yes.
16 Do you want me to restate it? And I 16 Q. And where are they currently, as far as
17 apologize for interrupting your thought. 17 you know?
18 A. You're welcome to restate it. 18 A. My mother has them. —
19 Q. Okay. You indicated that you had asked 19 Q. Ather home?
20 your sisters and mother whether they had pill 20 A.  Ibelieve so.
21 bottles or medications related that your father 21 Q. Other than the -- the boxes and blister
22 was taking in the year prior to his death. Let me 22 packs that we just discussed, to your knowledge,
23 ask you first, did you ask your mother that 23 your mother doesn't have any other medication
24 question? 24 bottles in her possession or medication in her
25 A. Yes. 25 possession that your father was taking in the year

 

 

 

4 (Pages 10 to 13)
